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Settlement and Release of Claims Agreement:
Julio Castillo v. BCC Food Hall LLC d/b/a La Centrale, and Jacopo Giustiniani, 19cv-21612-BB (SD Fla)




                      SETTLEMENT AND RELEASE OF CLAIMS AGREEMENT

        This Settlement, Release of Claims and Release of FLSA Claims Agreement (”Agreement”) is
entered into by and between BCC FOOD HALL LLC, d/b/a La Centrale, a Florida Limited Liability
Company, (the “Employer”), on behalf of itself and its subsidiaries, and other corporate affiliates, and
each of their respective present and former employees, officers, directors, owners, shareholders, and
agents, individually and in their official capacities, and JACOPO GIUSTINIANI, individually
(collectively referred to herein as, the “Employer” or “Employer Group”), and JULIO CASTILLO (the
“Employee”) (the Employer and the Employee are collectively referred to herein as the “Parties”) as of
June 13, 2019 (the “Execution Date”).

      WHEREAS, a dispute arose between the Parties over the alleged nonpayment of certain wages to
the Employee;

        WHEREAS, the Employee brought an action for recovery of certain allegedly unpaid overtime
wages under the Fair Labor Standards Act (“FLSA”) in the Southern District of Florida, styled Julio
Castillo v. BCC Food Hall LLC d/b/a/ La Centrale, and Jacopo Giustiniani, Case No. 19-cv-21612-BB
(the “Pending Litigation”);

      WHEREAS, the Employer Group has denied each and every allegation of wrongdoing alleged in
the Complaint as well as all other papers, motions, and other filings in the Pending Litigation;

         WHEREAS, the Court has made no factual or legal findings in the Pending Litigation;

       WHEREAS, the Parties desire to resolve the Pending Litigation amicably and expeditiously
without further litigation or adjudication; and

       WHEREAS, the Parties have negotiated and collectively drafted this Agreement to resolve the
dispute and Pending Litigation.

       NOW, THEREFORE, in consideration of the promises and obligations set forth herein, the parties
agree as follows:

       1. No Admission of Liability. Nothing herein shall be construed to be an admission by the
Employer Group of any wrongdoing or noncompliance with any federal, state, city, or local rule,
ordinance, constitution, statute, contract, public policy, wage and hour law, wage payment law, tort law,
common law, or of any other unlawful conduct, liability, wrongdoing, or breach of any duty whatsoever.
Employer Group specifically disclaims and denies any wrongdoing or liability to Employee.

        2. Payment. In consideration for Employee’s execution, non-revocation of, and compliance with
this Agreement, including the waiver and release of claims in sections 3 and 4, the Employer Group agrees
to provide the following benefits provided that Employee has not revoked this Agreement in accordance
with its terms, pay Employee, Ten Thousand Dollars and Zero Cents ($10,000.00) as follows:
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                 (a) Three Thousand Dollars and No Cents ($3,000.00), less all applicable taxes and other
                 withholdings in full satisfaction of all claims Employee may have for alleged FLSA claims,
                 lost wages, unpaid wages, unpaid overtime, lost back pay, front pay, or benefits to be paid
                 to Employee. Employer shall issue a Form W-2 to Employee for this amount making all
                 necessary deductions consistent with a Form W-4 that Employee shall provide to Employer
                 with the executed Agreement.

                 (b) Three Thousand Dollars and No Cents ($3,000.00) representing alleged liquidated
                 damages under the FLSA, with no tax withholdings, to be paid to Employee. Employer
                 Group shall issue a Form 1099-MISC to Employee for this amount. Employee is fully
                 responsible for payment of any and all relevant income taxes and/or deductions on this
                 amount, if any.

                 (c) Four Thousand Dollars and No Cents ($4,000.00) in full satisfaction of all claims
                 Employee may have for attorneys’ fees and costs, to be paid to Employee’s counsel, Hazel
                 Solis Rojas, Employer shall issue a Form 1099-MISC to Hazel Solis Rojas, P.A.

       The payments outlined in this section shall be delivered to Employee’s counsel within ten (10)
calendar days after both the execution of this Agreement by the Parties, the approval by the Court of this
Settlement Agreement, and the full and final dismissal, with prejudice, of the Pending Litigation.

       Employee agrees and acknowledges that Employer Group and its counsel have not made any
representations to Employee regarding the tax consequences of any payments or amounts received by
Employee pursuant to this Agreement.

       Employee further agrees and acknowledges that, upon receipt of the payments above, Employee
has been properly paid for all hours worked for the Employer Group, that all salary, wages, commissions,
bonuses, and other compensation due to Employee have been paid, and that Employee is not owed
anything else from the Employer Group other than as provided for in this Agreement.

        3. General Release and Waiver of Claims. In exchange for the promises made by Employer Group
in this Agreement, Employee and Employee’s heirs, executors, administrators, and assigns (collectively
the “Releasors”) forever waive, release, and discharge the Employer Group (collectively the “Releasees”)
from any and all claims, demands, causes of actions, fees, damages, liabilities, and expenses (inclusive of
attorneys’ fees) of any kind whatsoever, whether known or unknown, that Employee has ever had against
the Releasees, or any of them by reason of any actual or alleged act, omission, transaction, practice,
conduct, occurrence, or other matter up to and including the date of Employee’s execution of this
Agreement, including, but not limited to:

           (a) any claim under Title VII of the Civil Rights Act of 1964 (Title VII), the Americans with
Disabilities Act (ADA), the Family and Medical Leave Act (FMLA) (with respect to existing but not
prospective claims), the Equal Pay Act (EPA), the Employee Retirement Income Security Act (ERISA)
(with respect to unvested benefits), the Civil Rights Act of 1991, Section 1981 of the Civil Rights Act of
1866 (Section 1981), the Fair Credit Reporting Act (FCRA), the Worker Adjustment and Retraining
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Notification (WARN) Act, the Genetic Information Non-Discrimination Act (GINA), the Immigration
Reform and Control Act (IRCA), the Age Discrimination in Employment Act (ADEA), the Uniform
Services Employment and Reemployment Rights Act (USERRA), all as amended, the Florida Civil Rights
Act, the Florida Whistleblower Protection Act, Florida Workers’ Compensation Law’s Retaliation
provision, the Florida Wage Discrimination Law, the Florida Minimum Wage Act, the Florida Equal Pay
Law, the Florida Omnibus AIDS Act, the Florida Domestic Violence Leave Act, the Florida
Discrimination on the Basis of Sickle Cell Trait Law, Florida OSHA, the Florida Constitution, the Florida
Fair Housing Act, any local laws, codes or ordinances, amendments or regulations promulgated pursuant
to any of the foregoing and/or any other federal, state, local, or foreign law (statutory, regulatory, or
otherwise) that may be legally waived and released; however, the identification of specific statutes is for
purposes of example only, and the omission of any specific statute or law shall not limit the scope of this
general release in any manner;

          (b) any claims for compensation of any type whatsoever, including but not limited to claim for
salary, wages, bonuses, commissions, overtime, incentive compensation, vacation, sick pay, or severance;

           (c) any claims arising under tort, contract, or quasi-contract law, including but not limited to
claims of breach of an express or implied contract, tortious interference with a contract or prospective
business advantage, breach of the covenant of good faith and fair dealing, promissory estoppel, detrimental
reliance, invasion of privacy, nonphysical injury, personal injury or sickness, or any other harm, wrongful
or retaliatory discharge, fraud, defamation, false imprisonment, and negligent or intentional infliction of
emotional distress;

         (d) any and all claims for monetary or equitable relief, including, but not limited to, attorneys’
fees and costs, back pay, front pay, reinstatement, experts’ fees, medical fees or expenses, costs and
disbursements, punitive damages, liquidated damages, and penalties; and

            (e) indemnification rights the Employee has against the Employer Group.

        4. Specific Release of ADEA Claims. In further consideration of the payments and benefits
provided to the Employee in this Agreement, the Releasors hereby irrevocably and unconditionally fully
and forever waive, release, and discharge the Releasees from any and all Claims, whether known or
unknown, from the beginning of time to the date of the Employee’s execution of this Agreement, arising
under the Age Discrimination in Employment Act (ADEA), as amended, and its implementing
regulations. By signing this Agreement, the Employee hereby acknowledges and confirms that: (i) the
Employee has read this Agreement in its entirety and understands all of its terms; (ii) the Employee has
been advised by this Agreement to consult with an attorney before signing this Agreement, and has
consulted with such counsel to the extent Employee has deemed necessary; (iii) the Employee knowingly,
freely and voluntarily assents to all of the terms and conditions set out in this Agreement including, without
limitation, the waiver, release, and covenants contained herein; (iv) the Employee is executing this
Agreement, including the waiver and release, in exchange for good and valuable consideration in addition
to anything of value to which the Employee is otherwise entitled; (v) the Employee was given at least
twenty-one (21) days to consider the terms of this Agreement and consult with an attorney of Employee’s
choice, although Employee may sign it sooner if desired and changes to this Agreement, whether material
or immaterial, do not restart the running of the 21-day period; (vi) the Employee understands that
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Employee has seven (7) days from the date of signing this Agreement to revoke the release in this
paragraph by delivering notice of revocation to Employer by fax at the following number (646) 478-9147
before the end of such seven-day period; and (vii) the Employee understands that the release contained in
this paragraph does not apply to rights and claims that may arise after the date on which the Employee
signs this Agreement.

        5. Withdrawal and Stipulation of Dismissal. In exchange for the payment(s) made to Employee
pursuant to the terms of this Agreement and for other good and valuable consideration, the receipt and
sufficiency of which is acknowledged, Employee shall withdraw and dismiss, in writing and with
prejudice, the Pending Litigation together with any and all claims, charges, actions, complaints, lawsuits,
appeals, and proceedings that Employee has instituted against the Employer, including, but not limited to,
the Pending Litigation. Employee's counsel shall file with the court holding jurisdiction over the Pending
Litigation and deliver to Employer’s counsel within one (1) business day of signing this Agreement the
motion attached to this Agreement as Exhibit “A”. Employer’s counsel shall diligently pursue the
dismissal of the Pending Litigation to obtain a Stipulation of Dismissal with Prejudice. Employer’s
obligations under this Agreement are expressly conditioned on the Florida Southern District Court’s
acceptance and acknowledgment of dismissal of the Pending Litigation.

        6. Confidentiality. Employee represents, warrants, and confirms that, as of the date Employee
signed this Agreement, Employee has not disclosed or discussed, orally or in writing, the negotiations and
discussions leading to this Agreement, the existence of this Agreement, or any of its terms or conditions
with any person, organization, or entity other than Employee’s attorneys or tax advisors. Employee agrees
to maintain confidentiality, except as may be necessary for any court filings in the Pending Litigation, or
in an action to enforce its terms, or as otherwise required by law, regarding Employee’s allegations in the
Pending Litigation, all matters concerning Employee’s employment with Employer that were at issue in
the Pending Litigation, the negotiations and discussions leading to this Agreement, and the existence and
substance of this Agreement, including the amount paid under this Agreement, except that Employee may
disclose this Agreement to his spouse, attorneys, accountants, tax advisors or other similar professionals,
psychiatrist, licensed mental health therapist or other health care provider or professional, or the Internal
Revenue Service or other appropriate federal, state, or local agencies. Upon receipt of an inquiry regarding
the Pending Litigation or this Agreement from someone other than those identified in this paragraph, the
Parties shall state only that “the matter has been resolved.” If Employee is required by law or pursuant to
a subpoena to disclose information regarding the Action or this Agreement, Employee agrees that
Employee shall promptly provide written notice to Employer. Employee shall have no obligation
whatsoever other than to notify Employer as stated above and shall comply with any court order, subpoena,
law, regulation or legal process if Employer should not timely file any appropriate motion opposing the
court order, subpoena, law, regulation or legal process and staying Employee’s requirement to comply
with the court order, subpoena, law, regulation or legal process.

         7. Waiver of Future Employment. Employee waives all rights and claims to reinstatement as an
employee with Employer and agrees that Employee will not knowingly seek or accept future employment
with Employer or Employer’s parents, subsidiaries, and other corporate affiliates or with any successor or
assign. Employee agrees that if Employer or Employer’s parents, subsidiaries, and other corporate
affiliates or any successor or assign declines to employ Employee, they shall not be liable for any damages.

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       8. Employer’s Reference of Employee. In the event a prospective future employer for Employee
calls Employer’s human resources manager for a job reference, Employer shall direct their human
resources manager to confirm to any prospective employer: (i) Employee’s job title, (ii) Employee’s dates
of employment, and (iii) Employee’s salary. Employer shall not disclose any information about
Employee’s separation from Employer or whether Employee is eligible for rehire.

        9. Knowing and Voluntary Acknowledgment. Employee specifically agrees and acknowledges
that: (a) Employee has read this Agreement in its entirety and understands all of its terms; (b) by this
Agreement, Employee has been advised of the right to consult with an attorney before executing this
Agreement, and has consulted with such counsel as Employee deemed necessary; (c) Employee
knowingly, freely, and voluntarily assents to all of its terms and conditions including, without limitation,
the waiver, release, and covenants contained herein; (d) Employee is executing this Agreement, including
the waiver and release, in exchange for good and valuable consideration in addition to anything of value
to which Employee is otherwise entitled; and that (e) Employee is not waiving or releasing rights or claims
that may arise after the execution of this Agreement.

Employee further acknowledges that Employee has had twenty-one (21) days to consider the terms of this
Agreement, although Employee may sign it sooner if desired. Further, Employee shall have seven (7) days
from the date on which Employee signs this Agreement to revoke consent to Employee’s release of claims
under the ADEA, if applicable, by delivering notice of revocation to Employer by fax at the following
number (646) 478-9147, before the end of such seven-day period. In the event of such revocation by
Employee, Employer Group shall have the option of treating this Agreement as null and void in its entirety.

This Agreement shall not become effective until the eighth (8th) day after the Parties execute this
Agreement. This date shall be the Effective Date of this Agreement. No payments due to Employee
hereunder shall be made or begin before the Effective Date.

        10. Non-Disparagement. Employee agrees and covenants that Employee shall not at any time
make, publish, or communicate to any person or entity or in any public forum any defamatory or
disparaging remarks, comments, or statements concerning the Employer Employer’s business practices,
or the goods and services it sells, now or in the future.

        11. Successors and Assigns. Employer may freely assign this Agreement at any time. This
Agreement shall inure to the benefit of the Employer and each of their respective successors and assigns.
Employee shall not assign this Agreement or any part hereof. Any purported assignment by Employee
shall be null and void from the initial date of the purported assignment.

        12. Governing Law and Forum Selection. This Agreement, for all purposes, shall be construed in
accordance with the laws of Florida without regard to conflict-of-law principles. Any action or proceeding
by either of the Parties to enforce this Agreement shall be brought only in the state or federal courts located
in the state of Florida, county of Miami Dade. The Parties hereby irrevocably submit to the exclusive
jurisdiction of such courts and waive the defense of inconvenient forum to the maintenance of any such
action or proceeding in such venue.

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        13. Tolling. If the Employee violate any of the terms of the post-termination obligations articulated
in this Agreement, the obligation at issue will run from the first date on which the Employee ceases to be
in violation of such obligation.

       14. Attorneys’ Fees and Costs. In the event Employee or Employer brings a claim to enforce any
provision of this Agreement, the prevailing party shall be entitled to recover the reasonable attorneys’ fees
and costs she or it incurred in such claim.

       15. Entire Agreement. This Agreement contains all of the understandings and representations
between Employer and Employee relating to the subject matter herein and supersedes all prior and
contemporaneous understandings, discussions, agreement, representations, and warranties, both written
and oral, with respect to such subject matter.

       16. Enforcement. The Parties mutually agree that this Agreement can be specifically enforced in
any court of competent jurisdiction and can be cited as evidence in legal proceedings alleging breach of
this Agreement.

        17. Modification and Waiver. No provision of this Agreement may be amended or modified unless
such amendment or modification is agreed to in writing and signed by both Employer and Employee. No
waiver by either party of any breach by the other party of any condition or provision of this Agreement
shall be deemed a waiver of any other provision or condition, nor shall the failure of or delay by either of
the parties in exercising any right, power, or privilege under this Agreement operate as a waiver to
preclude any other or further exercise of any right, power, or privilege.

        18. Severability. If any provision of this Agreement is held by a court of competent jurisdiction to
be enforceable only if modified, or if any portion of this Agreement is held as unenforceable and thus
stricken, such holding shall not affect the validity of the remainder of this Agreement, the balance of which
shall remain in full force and effect and continue to be binding upon the Parties, with any such
modification to become a part hereof and treated as though originally set forth in this Agreement.

The Parties further agree that any such court is expressly authorized to modify any such unenforceable
provision of this Agreement in lieu of severing such unenforceable provision from this Agreement in its
entirety, whether by rewriting the offending provision, deleting any or all of the offending provision,
adding additional language to this Agreement, or by making such other modifications as it deems
warranted to carry out the intent and agreement of the Parties as embodied herein to the maximum extent
permitted by law.

        19. Captions. Captions and headings of the sections and paragraphs of this Agreement are intended
solely for convenience and no provision of this Agreement is to be construed by reference to the caption
or heading of any section or paragraph.

       20. Counterparts. The Parties may execute this Agreement in counterparts, each of which shall be
deemed an original, and all of which taken together shall constitute one and the same instrument. Delivery
of an executed counterpart’s signature page of this Agreement, by facsimile, electronic mail in portable
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document format (.pdf), or by any other electronic means intended to preserve the original graphic and
pictorial appearance of a document, has the same effect as delivery of an executed original of this
Agreement.

       21. Notices. All notices under this Agreement must be given in writing by nationally recognized
overnight courier service, with a copy to counsel for the party being served at the addresses indicated in
this Agreement or any other address designated in writing by either Party.

         Notice to the Employer:

         BCC FOOD HALL LLC
         c/o Cinotti LLP
         66 West Flagler Street, Suite 1002
         Miami, FL 33130

         Notice to the Employee:

         Julio Castillo
         c/o Law Office of Hazel Solis Rojas, P.A.
         3105 NW 107th Avenue, Suite 400
         Doral, Florida 33172

     22. Acknowledgment of Full Understanding. EMPLOYEE ACKNOWLEDGES AND AGREES
THAT EMPLOYEE HAS FULLY READ, UNDERSTANDS AND VOLUNTARILY ENTERS INTO
THIS AGREEMENT. EMPLOYEE ACKNOWLEDGES AND AGREES THAT EMPLOYEE HAS
HAD AN OPPORTUNITY TO ASK QUESTIONS AND CONSULT WITH AN ATTORNEY OF
EMPLOYEE’S CHOICE BEFORE SIGNING THIS AGREEMENT. EMPLOYEE FURTHER
ACKNOWLEDGES THAT EMPLOYEE’S SIGNATURE BELOW IS AN AGREEMENT TO
RELEASE OF THE EMPLOYER GROUP FROM ANY AND ALL CLAIMS THAT CAN BE
RELEASED AS A MATTER OF LAW.


     REMAINDER OF PAGE INTENTIONALLY LEFT BLANK. SIGNATURE PAGE TO FOLLOW.




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